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                  IN THE UNITED ST TES DISTRICT COURT FOR THE
                         NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

 WlWAM E.         MOR,                                  )
                                                        )       I8-CV-02523
                 Plaintiff,                             )
                                                        )       Honorable Judge John Z. Lee
                                                        )
                                                        )
 MICHAEL CROSS, et al.                                  )
                                                        )
                 Defendants.                            )       JURY TRIAL DEMANDED


                         DECLARATION OF DOUGLAS ,T. CARPENTER

         I, Douglas J. Carpenter, declare pursuant to 28 U.S .C. § 1746 that the following is true

  and correct:

          1.      My name is Douglas J. Carpenter. I am currently Vice President and Principal

  Engineer at Combustion Science & Engineering, Inc.

          2.      I wrote the report dated January 22, 2021 attached hereto as Exhibit A.

          3.      If called to testimony, I would testify consistent with the content of these reports.

          I declare and state under penalty of perjury of the laws of the United States of America

  that the foregoing is true and correct                                                                  l
                                                                                                          j
                   -fh
  Date: March    T , 2022
                                                                                                          I


                                                                                             EXHIBIT 7
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   SUPPLEMENTAL ANALYSIS OF THE FIRE OF SEPTEMBER 10, 1995
            AT 218 E. BAILEY ROAD, APARTMENT M
                        NAPERVILLE, IL


                                      William E. Amor
                                             vs.
Naperville Police Officers Michael Cross; Robert Guerreri; The Estate of Mark Carlson; Brian
    Cunningham; John Ripsky; Other Unidentified Officers; and The City of Naperville.


                                United States District Court
                                Northern District of Illinois
                                     Eastern Division
                                     No. 18 CV 02523

                                            By




                      _________________________________________
                      Douglas J. Carpenter, MScFPE, CFEI, PE, FSFPE
                                    Principal Engineer


                          Combustion Science & Engineering, Inc.
                            8940 Old Annapolis Road, Suite L
                               Columbia, Maryland 21045


                                       Submitted to:

                                   Mariah Garcia, Esq.
                                     Loevy & Loevy
                            311 North Aberdeen Street, 4th Floor
                                 Chicago, Illinois 60607


                                     January 22, 2021
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INTRODUCTION

       This analysis of the fire incident at the residence of Marianne Miceli, located at 218 E.

Bailey Road, Apartment M, in Naperville, Illinois is prepared pursuant to Rule 26 of the Federal

Rules of Civil Procedure. It is intended to serve as a disclosure of my expert opinions concerning

this fire incident. This supplemental analysis is based on my review of documents, information,

data, and evidence concerning the fire incident that occurred on the morning of September 10,

1995 and is in addition to previous affidavits, letter reports, and court testimony. A list of the

material reviewed for this supplemental report is given as Appendix A.

       In developing my analysis and opinions, I have relied heavily on my knowledge of the

Combustion and Fire Sciences, Chemistry and Chemical Engineering, Mechanical Engineering,

Fire Protection Engineering, Fire Dynamics, Explosion Dynamics, Fire Modeling, Heat Transfer,

Smoke and Fire Detection and Notification, Fire Origin and Cause Investigations, Ignition, Flame

Spread, and Toxicology. Additional information on my experience and training is provided in

Appendix B (Resume and List of Publications).

       The fee for preparation of this report and for testimony by deposition or in court is

$350/hour for Mr. Carpenter. A list of my testimony by deposition or in court over the last five

(5) years is given in Appendix C.

       The analysis and opinions expressed in this report are based on my knowledge of facts and

data reviewed to date. All opinions are held to a reasonable degree of scientific and engineering

certainty. If my opinions (or the bases for them) as expressed below change or if new opinions

are formulated as a result of additional information that becomes available, I will amend or

supplement my opinions appropriately.




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BACKGROUND
       On or about September 10, 1995, William Amor resided at 218 E. Bailey in Naperville

with his wife, Tina Amor (“Ms. Amor”) and his mother-in-law, Marianne Miceli (Ms. Miceli”).

Ms. Miceli called 911 and reported that there was a fire in the apartment. The Naperville Fire

Department arrived and began rescue efforts. Tragically, they were unable to save Ms. Miceli,

who died as a result of smoke inhalation. William Amor and his wife, Tina Amor, were not at

apartment at the time of the 911 call but returned home at 11:00 p.m., at which time they were

informed of Ms. Miceli’s death.

       After may more hours of interrogation, written statements were produced by William Amor

of his alleged involvement in setting a fire. Specifically, the statements suggested that William

Amor intentionally started the fire by knocking a lit cigarette onto a newspaper, which he had

previously spilled vodka on. On September 17, 1997, following a trial, William Amor was

convicted of both aggravated arson and first-degree murder.

       On January 29, 1997, William Amore was granted leave to file a petition for post-

conviction relief based upon his assertion that he was actually innocent of the crimes for which he

had been convicted. After a hearing on April 6, 2017, the Circuit Court of DuPage County vacated

William Amor’s conviction. On May 30, 2017, William Amore was released pending a retrial. On

February 21, 2018, William Amor was acquitted after a bench trial.

METHODOLOGY
       The general purpose of the investigation of fire and explosion incidents is to determine the

fire origin, fire cause, responsibility, and means of prevention of fire and explosion incidents.

NFPA 1033, Standard for Professional Qualifications for Fire Investigator, Section 4.1.2, [1] states

“The fire investigator shall employ all elements of the scientific method as the operating analytical



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process throughout the investigation and for drawing conclusions.” The appendix for this section

references NFPA 921, Guide for Fire & Explosion Investigations, [2] for a discussion of the

application of the Scientific Method to the investigation of fire and explosion incidents.

           Accordingly, NFPA 921, Section 4.3, recommends the use of the Scientific Method as the

basic methodology to be applied for the investigation of fire and explosion incidents. Throughout

the document, there is discussion as to how to apply the Scientific Method in a scientifically

reliable manner. Through court rulings associated with the application of the Frye and Daubert

reliability standards to fire investigations, NFPA 921 has been identified as the standard of care

in the fire investigation community. In order to produce valid and scientifically reliable

determinations, an investigator must follow the Scientific Method as outlined in NFPA 921, Guide

for Fire and Explosion Investigations [2].

           The Scientific Method is the generally accepted methodology for conducting investigations

in the physical and chemical sciences. The Scientific Method delineates a process by which a

valid1 hypothesis, once formulated with evidence, is tested against all available evidence and the

accepted principles of science and mathematics to determine if the hypothesis remains valid and

if it explains an observed outcome or result. Otherwise, it is an invalid hypothesis that has been

disproved.

           The typical steps to follow in the Scientific Method, as applied to the investigation of fire

and deflagration incidents, are to define the problem being investigated, collect all available data,

analyze the data and evidence, develop a working hypothesis, and test the hypothesis to determine

if it fits with the available evidence and the accepted principles of science and mathematics. This




1
    An invalid hypothesis is any hypothesis formulated without evidence or has been disproved by evidence.



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process must be repeated until a hypothesis is formulated that is uniquely consistent with all of the

available evidence and there is no evidence that disproves the hypothesis.

       The Scientific Method as applied to the investigation of fire and explosion incidents

requires evidence (defined as data that is both relevant and reliable) in order to formulate a valid

hypothesis. The Scientific Method also requires evidence in order to disprove a valid hypothesis.

If, during the course of investigation, additional data and evidence relating to the incident becomes

available, then the investigator may need to appropriately amend the original hypothesis to account

for the new evidence. Thus, the Scientific Method may require an iterative process before one

final valid hypothesis that is uniquely consistent with the available evidence can be reached.

       Data collection includes information obtained from the fire scene observations, from

testing physical artifacts, from witness statements, and other forms of documentation. The data

and evidence are used to first formulate hypotheses concerning the origin of the fire (NFPA 921

Chapter 18). Potential areas of the building are considered as origin hypotheses and may be

disproved if the origin is inconsistent with the data and evidence obtained or if the origin is not

possible based upon the principles of fire science, knowledge of the dynamics of fire, and its

interaction with the environment.

ANALYSIS
       This analysis is in addition to my previous analysis that was contained in my affidavits,

expert report, slide show presentation, hearing testimony, and trial testimony. After a review and

analysis of the new material listed in Appendix A, I still hold my analysis, determinations, and

opinions to a reasonable degree of scientific and engineering certainty.

       An “issue” in this case is the reliability of the fire cause determination by investigators

with the Naperville Police Department. A fire cause is a hypothesis that can be formulated and




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tested with evidence by the application of the Scientific Method as specified by NFPA 921 [2] and

NFPA 1033[1]. The following sections will provide an analysis of the reliability of the fire cause

determination associated with the application of the Scientific Method based on the available

evidence.

       The definition and use of fire cause are specific to NFPA 921. A determination of the fire

cause requires the identification of three (3) elements; 1) the first fuel ignited, 2) the competent

ignition source for the first fuel ignited, and 3) how the competent ignition source and the first fuel

ignited came together to initiate the fire. For reliability, the determination of the fire cause by the

application of the Scientific Method must be based on evidence, not the lack of evidence. In

addition, any valid fire cause hypothesis must be tested through the application of the Scientific

Method. Testing of a fire cause hypothesis can take many forms including physical testing by

conducting experiments, analytically by applying accepted scientific principles, or by reference to

the available scientific literature, as discussed in NFPA 921.

       As part of their investigation, the Naperville Police Department made a fire cause

determination that resulted in a subsequent determination of the classification of the cause as an

incendiary fire cause. An incendiary fire cause classification requires evidence of human

intervention that brought the first fuel ignited and the competent ignition source together with the

intent to start a fire where one was not going to occur, otherwise. The investigators identified the

first fuel ignited as vodka spilled on newspaper and the competent ignition source for the first fuel

ignited as a lighted cigarette. Furthermore, how the spilled vodka on newspaper and the burning

cigarette came together to initiate the fire was identified as by the actions of William Amor spilling

vodka on the newspaper and introducing a burning cigarette to cause ignition with the intent to

initiate a fire where one was not going to occur, otherwise.




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       No physical evidence of the presence of a vodka bottle was found inside the apartment. No

physical evidence of the presence of cigarettes was found within the determined area of origin.

The fire scene also produced no physical evidence of William Amor actions or intent to initiate

the fire. In order to formulate a valid hypothesis using a reliable methodology, there must be

evidence to support such a determination. Since no evidence was found that would reliably allow

a valid fire cause hypothesis to be formulated and the investigators initially could not identify the

three (3) elements of the fire cause, they initially determined the fire cause to be undetermined.

Subsequently, based on statements made by William Amor, the investigators changed their fire

cause determination. The subsequent fire cause hypothesis involved vodka, newspapers, and a

cigarette, with the intent by William Amore to initiate an incendiary fire.

       Assuming there was evidence to formulate a valid fire cause hypothesis, the investigators

should have tested this fire cause hypothesis by application of the Scientific Method. NFPA 921

discusses means of hypothesis testing including the use of scientific literature, fundamental

principles of science, physical experiments or testing, and time line analysis. No hypothesis testing

was done by investigators as required by the application of the Scientific Method.

       There are two (2) relevant means of hypothesis testing that should have been employed in

this case, as discussed in NFPA 921. The first relevant means of hypothesis testing is a time line

analysis. The second relevant means of hypothesis testing is through the use of fundamental

science and the available scientific literature. With respect to the time line analysis, the fire cause

hypothesis involved a lighted cigarette being introduced into vodka vapors that resulted in ignition.

If the vapors from the vodka could be ignited, it would have produced a flaming fire. Since the fire

cause hypothesis involves human activity associated with the spilling of the vodka and the

introduction of a cigarette, the flaming ignition would have occurred while all three (3) occupants




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were still in the apartment. A flaming fire on in or around the swivel chair in the living room would

have been observed by one or more of the occupants. William Amor was the first to leave the

apartment and wait in the car for his wife, Tina Amor. Mr. Amor did not report that he observed a

flaming fire in the living room before exiting the apartment. Tina Amor left the apartment some

minutes after William Amor and also did not report that she observed a flaming fire in the living

room.

        In addition, a previous time line analysis (Figure 1), which was presented in the post-

conviction trial, showed that the 911 call associated with the fire cause hypothesis of the vodka,

newspaper, and a cigarette, would have had to occur between 6:23 PM and 6:28 PM. This analysis

was based, in part, on the calculated time of arrival of smoke at the bedroom door and the time of

incapacitation of the fire victim during the 911 call. The documented time of the 911 call was 6:40

PM. Thus, a time line analysis disproves the fire cause hypothesis because it does not reproduce

the observations of the occupants or the timing of the 911 call.

        With respect to the testing of the fire cause hypothesis using fundamental science and the

available scientific literature, there are two conditions that must occur for the fire to be initiated

under this fire cause hypothesis. The first condition is related to the first fuel ignited and the second

is related to the competent ignition source for the first fuel ignited. It is well-established

fundamental knowledge that it is the vapors produced from liquids that burn and not the liquid

itself. These vapors must be produced in a flammable concentration to support flaming

combustion. The type of and the temperature of the liquid determines whether a flammable vapor

concentration exists above the liquid surface. The temperature of the liquid that produces a

flammable vapor concentration is called the flashpoint. The flashpoint temperature measurement

is made when there is the presence of a relatively short duration flame (i.e., a “flash”) without




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sustained flaming combustion. The firepoint temperature is made when there is ignition and

sustained flaming combustion. The measured flashpoint and firepoint temperatures of 80-proof

vodka are above nominal room temperature. CSE conducted flashpoint testing of 80-proof vodka

in an open-cup configuration and found the average flashpoint to be 88°F and the average firepoint

to be 90°F. Thus, there would not be the presence of a flammable vapor concentration above the

liquid vodka or ignition at nominal room temperature of 70°F. Thus, the vapors from vodka cannot

be ignited at nominal room temperature and this fire cause hypothesis is disproved by the

application of the Scientific Method.




Figure 1 - Time Line Analysis of Fire.




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       The second means of hypothesis testing is to assess if a lighted cigarette is a competent

ignition source for the vodka vapors, if a flammable vapor concentration existed. Hollyhead [3]

and Babrauskas [4] provide comprehensive reviews of the available scientific literature on this

subject. While the available scientific literature does not include studies on the cigarette ignition

of vodka vapors, it does present studies on ignition of gases and vapors, including ethanol vapors,

by lighted cigarettes. Vodka is essentially a mixture of ethanol and water. 80-proof vodka contains

40% by volume of ethanol and 60% by volume of water. The presence of water in a miscible

flammable liquid affects the flammability. As the % volume of ethanol decreases, the flashpoint

increases. Pure, 100% by volume, ethanol has a flashpoint of 55°F, thus, it is ignitable at nominal

room temperature. The testing results of pure ethanol vapors can be used to test the competence of

a cigarette to ignite vodka vapors since the pure ethanol is flammable at nominal room temperature.

Thus, the variable of the liquid ethanol temperature can be isolated so as to reliably test only the

ignition competence of the cigarette since a “no ignition” result could be obtained by the lack of a

flammable vapor concentration at nominal room temperature. Thus, if pure ethanol cannot be

ignited by a lighted cigarette at nominal room temperature, then 80-proof vodka will also not ignite

at nominal room temperature and a cigarette is not a competent ignition source. Results of

laboratory experiments by Stresse [5] and Yockers and Segal [6] from the 1950s and 1970s show

that ethanol was not ignited by the introduction of a lighted cigarette. Thus, the vapors from vodka

cannot be ignited by a lighted cigarette at nominal room temperature and this fire cause hypothesis

is further disproved by the application of the Scientific Method.




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         If the investigators had reliably tested their fire cause hypothesis2, they would have found

that the hypothesis testing disproved their fire cause hypothesis. The lack of hypothesis testing in

this case results in the application of an unreliable methodology that produced unreliable

determinations and opinions. Thus, their determination of the fire cause in this case involving

vodka, newspaper, and a cigarette was an unreliable determination.

SUMMARY OF CONCLUSIONS
         Based on the available evidence, reliable application of the Scientific Method, and the

preceding analysis, CSE has reached the following determinations and opinions:


        An “issue” in this case is the reliability of the fire cause determination by investigators

         with the Naperville Police Department.


        As part of their investigation, the Naperville Police Department made a fire cause

         determination that resulted in a subsequent determination of the classification of the cause

         as an incendiary fire cause.


        For reliability, the determination of the fire cause by the application of the Scientific

         Method must be based on evidence, not the lack of evidence. In addition, any valid fire

         cause hypothesis must be tested through the application of the Scientific Method.


        No hypothesis testing was done by investigators as required by the application of the

         Scientific Method.


2
  The first and second editions of NFPA 921were published in 1992 and 1995, respectively. These editions provided
a discussion of the application of the Scientific Method to the investigation of fires and explosion incidents. All of the
data and analysis used to test the fire cause hypothesis in this report would have been available to investigators in
1995. In the absence of such data, investigators also had the ability to perform physical testing to test their fire cause
hypothesis.



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      Hypothesis testing by an analysis of the time line disproves the fire cause hypothesis

       because it does not reproduce the observations of the occupants or the timing of the 911

       call.


      The hypothesis testing also demonstrates there would not be the presence of a flammable

       vapor concentration above the liquid vodka or ignition at nominal room temperature of

       70°F. Thus, the vapors from vodka cannot be ignited at nominal room temperature and this

       fire cause hypothesis is disproved by the application of the Scientific Method.


      Furthermore, the hypothesis testing also demonstrates that the vapors from vodka cannot

       be ignited by a lighted cigarette at nominal room temperature and this fire cause hypothesis

       is further disproved by the application of the Scientific Method.


      If the investigators had reliably tested their fire cause hypothesis, they would have found

       that the hypothesis testing disproved their fire cause hypothesis. The lack of hypothesis

       testing in this case results in the application of an unreliable methodology that produced

       unreliable determinations and opinions. Thus, their determination of the fire cause in this

       case involving vodka, newspaper, and a cigarette was an unreliable determination.

REFERENCES
1. NFPA 1033, Standard for Professional Qualifications for Fire Investigator, 2014 Edition,
   National Fire Protection Association, Quincy, MA.

2. NFPA 921, Guide for Fire and Explosion Investigations, 2014 Edition, National Fire Protection
   Association, Quincy, MA.

3. Holleyhead, R., “Ignition of Flammable Gases and Liquids by Cigarettes : A Review,” Science
   and Justice, Vol. 36, p257-266, 1996.



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4. Babrauskas, V., Ignition Handbook, Fire Science Publishers, Issaquah, Washington, pp716–
   717, 2003.

5. Stresse, G ., Zundmoglichkeit von brennbaren Gasen und Dampfen durch glimmenden Tabak,
   Sonderdruck aus Bundesarbeitsblatt—Fachteil Arbeitsschutz 3, pp 66-70, 1970.

6. Yockers, J.R., Segal, L.S., “Cigarette Fire Mechanisms,” NFPA Quarterly, Vol. 49, pp213–
   222, January 1956.




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                                  Appendix A
                          List of Reviewed Materials




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      William E. Amor Complaint 04/09/2018, Pgs. 1-18

      Videotaped Deposition of Investigator Robert Guerreri 02/07/2020, Pgs. 1-375

      Trial Testimony 1995 Ferreri, Amor 201392-021497

      Trial Testimony 1995 Dr. Michael Chiappetta, Amor 021599-021648

      Origin and Cause Narrative Report, Amor 018654-018659

      Investigative Report, Amor 020205-020207

      Trial Testimony 1995 Chiappetta, Amor 021599-021648

      Naperville Police Department Investigative Report 1195, DEFS 12779-12788

      Affidavit of Douglas J. Carpenter, Amor 008367-008444

      218 E. Bailey Apartment Photos Part 1, Amor 018482-018500, Amor 018669-018688

      218 E. Bailey Apartment Photos Part 2, Amor 018501-018615

      Naperville Fire Department Fire Investigation Closure Report, Amor 009361

      Naperville Fire Department Fire Investigation Team Supplemental Report, Amor 018714

      Report on the Television/VCR Test Burn, Amor 018729-018733

      Office of the State Fire Marshall Division of Arson Investigative Report 1995, SDT-
       ISFM 05-07

      Kragh Engineering, Inc. Burn Report 11/3/95, Amor 018665-018668

      Report on Interview of William Amor, 9/14/95, DEFS 5393-5394

      Naperville Fire Investigation Team General Data Sheet, 9/10/95, Amor 018706-018710

      Report of Proceedings 11/9/95, Amor 021530-021553

      Naperville Fire Department Fire Investigation Team Supplemental Report 9/10/95, Amor
       018714



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      Office of the State Fire Marshal Division of Arson Investigative Report, 9/19/95, SDT-
       ISFM 05-07

      Trial Testimony Kushner Part 1, Amor 021341-021391

      Trial Testimony Kushner Part 2, Amor 021323-021340

      Report of Proceedings 1/30/18, Pl. Amor 029275-029349

      Retrial Transcript 2018, Pl. Amor 029127-029273

      Video Discovery Deposition of Mitchell Kushner 9/28/20, Pgs. 1-256

      Videotaped Deposition of David Ferreri 9/11/20, Pgs. 1-257

      Ferreri Exhibit 1 DEFS 5323-5324, Exhibit 2 DEFS 10912, Exhibit 3 DEFS 5332-5334,
       Exhibit 4 Pl. Amor 001875, 001877,001878, Exhibit 5 KC4-13, Exhibit 6 Pl. Amor
       017386-017387, Exhibit 7 Pl. Amor 009401, Exhibit 8 RW03-06, Exhibit 9 Pl. Amor
       017378-017384, Exhibit 10 Pgs. 4-13, Exhibit 11 DEFS 5403-5408

      Amor Complaint 2/27/20, Pgs. 1-19

      Videotaped Deposition of Chief Brian Cunningham 2/28/20, Pgs. 1-339

      Transcript of Michael Cross 10/16/20, Pgs. 1-134

      Cross Exhibit 1 Pg.1, Exhibit 2 10/16/20 Pg. 1, Exhibit 3 10/16/20 DEFS 12779-12785,
       Exhibit 4 10/16/20 DEFS 12754-12761, Exhibit 5 10/16/20 DEFS 11273-11279

      Video-recorded Deposition of William E. Amor 3/5/20 Pgs. 1-400

      Amor Exhibit 1 3/5/20 DEFS 116, Exhibit 2 3/5/20 DEFS 5308, Exhibit 3 3/5/20 DEFS
       191, Exhibit 4 3/5/20 SDT-SAO 695-697, Exhibit 5 3/5/20 SDT-REID 14-15, Exhibit 6
       3/5/20 DEFS 190, Exhibit 7 3/5/20 DEFS 818, Exhibit 8 3/5/20 SDT-SAO 10648-10650,
       Exhibit 9 3/5/20 SDT-SAO 10517-10524, Exhibit 10 3/5/20 DEFS 5282, Exhibit 11
       3/5/20 DEFS 5281, Exhibit 12 3/5/20 DEFS 14484, Exhibit 13 3/5/20, Exhibit 14 3/5/20
       DEFS 14480, Exhibit 15 3/5/20 DEFS 491-557, Exhibit 16 3/5/20 DEFS 450-451.

      Cross Exhibit 6 10/16/20 PI. Amor 02895-029107.




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                                  Appendix B
                       Resumes and Lists of Publications




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DOUGLAS J. CARPENTER, MScFPE, CFEI, PE, FSFPE

EDUCATION:

M.S., Fire Protection Engineering, Worcester Polytechnic Institute, Worcester, MA, 1996.
B.S., Mechanical Engineering, University of Vermont, Burlington, VT, 1992.
A.S., Mechanical Engineering, Vermont Technical College, Randolph Center, VT, 1984.

THESIS:
Carpenter, D. J., “An Investigation into the Validity of Modeling Post-Flashover Fires and Flame
      Extension from Openings with the Fire Field Model JASMINE”, Worcester Polytechnic
      Institute, August 1996.


PROFESSIONAL EXPERIENCE:
Research Assistant Professor, Department of Fire Protection Engineering, Worcester
      Polytechnic Institute, Worcester, MA, 2009 to 2016. Appointment for research
      collaboration with faculty in the area of fire protection engineering.

Adjunct Lecturer, Department of Fire Protection Engineering, University of Maryland,
      College Park, MD, December 2004 to 2016. Adjunct Lecturer for graduate level distance
      learning course Advanced Fire Dynamics for the Department of Fire Protection Engineering
      at the University of Maryland.

Vice-President and Principal Engineer, Combustion Science & Engineering, Inc., Columbia,
       MD, 1998 to present. Responsibilities include fire investigations, fire reconstruction
       analyses, and performing fire hazard analyses utilizing computer fire modeling including
       both zone models and Computational Fluid Dynamics (CFD). Applied quantitative and
       performance-based fire hazard analysis skills to a wide range of projects including nuclear
       production reactors and facilities at DOE’s Savannah River Site, building atria,
       manufacturing operations, transportation vehicles, airports, as well as United States
       research facilities and airport operations in Antarctica. Developed a flame-spread model
       for use in a CFD model of burning vehicles. Developed and taught classes and seminars in
       fire investigation, performance-based fire safety design, and computer fire modeling for
       such organizations as the Society of Fire Protection Engineers (SFPE) and the International
       Council of Building Officials (ICBO). Panel Member for Nuclear Regulatory
       Commission’s PIRT (Phenomenon Identification Ranking Table) review process
       associated with computer fire modeling in the commercial nuclear environment.

Staff Engineer, Hughes Associates, Inc., Baltimore, MD, 1996 to 1998.
       Conducted in-house cone calorimeter tests for code equivalency evaluations and fire
       litigation support. Performed fire hazard analysis for military aircraft hush houses to
       determine technical requirements for alternative suppression system to existing Halon 1301



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       systems. Performed a review of fire hazards and fire suppression system options for the
       Halifax Class frigates of the Canadian Navy. Developed a computer program for the
       military evaluating alternative systems for existing Halon 1301 systems. Performed a
       comprehensive evaluation of the military’s current Halon 1211 replacement program.
       Conducted on-scene fire investigations and computer fire modeling in support of fire
       litigation work. Conducted experiments that mapped the heat flux of Halogen Torchiere
       Lamps for development of a model to determine ignition potential of adjacent combustibles.

Fire Protection Engineer, Office of Polar Programs, National Science Foundation, Arlington,
       VA, 1995-1996. Assisted engineers in examining fire protection engineering issues
       associated with Amundsen-Scott South Pole, McMurdo, and Palmer Stations in Antarctica.
       Projects emphasized equivalent levels of protection for fire hazards and life safety using a
       systems and performance-based engineering approach in this unique and challenging
       environment. Actively involved with the fire protection specification and design for the
       proposed new research station at the South Pole as part of the South Pole Redevelopment
       Project (SPRP). Conducted a fire risk assessment of buildings in McMurdo Station, which
       included computer fire modeling. Conducted on-site visits of McMurdo and Amundsen-
       Scott South Pole Station.

Fire Protection Engineer, ABASCO Services, Inc., Augusta, GA, 1993.
       Six-month graduate internship. Responsible for developing a framework for an alternative
       methodology to the average combustible loading method for fire barrier analysis.
       Reviewed and provided written critique for proposed on-site work connected with fire
       protection at the Department of Energy's Savannah River Site.


Fire Protection Engineer, MBS Fire Technology, Inc., Worcester, MA, 1993.
       Six-month graduate internship. Part of a team responsible for writing a revision of a fire
       hazard analysis for a nuclear production reactor using a performance-based approach.
       Provided recommendations for alternative methods to using Halon 1301 for fire
       protection within the reactor environment. Reviewed and provided written critique for
       proposed on-site work connected with fire protection at the Department of Energy's
       Savannah River Site.
PROFESSIONAL REGISTRATION AND CERTIFICATION:
Certified Fire and Explosion Investigator, National Association of Fire Investigators, 2005.
Professional Engineer (P.E.), State of Maryland, License No. 32633.
Professional Engineer (P.E.), Commonwealth of Virginia, License No. 0402055826.
Fire Investigation for Fire Officers, IAAI Certification, 25 Hours, CFI Trainer, 2020.
Principles of Fire Investigation Multi-Program, IAAI Certification, 67 Hours, CFI Trainer, 2020.

HONORS AND AWARDS:
Photography Competition, 1st Place Accidental Fire Cause, International Association of Arson
Investigators (IAAI), 2020.


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Fellow, Society of Fire Protection Engineers, April, 2014.
Antarctic Service Medal of the United States of America, May, 1999.
Salamander Honorary Fire Protection Engineering Society, May 1995.
Campus Safety Association Scholarship Award, May 1995.
Percy Bugbee Fire Protection Engineering Scholarship, May 1995.
M&M Protection Consultants Scholarship, May 1994.
Dean’s List at University of Vermont: Fall 1988, 1991, Spring 1992.

PATENTS:

Roby, R. J. and Carpenter, D. J., “Use of Buoyant Gases for the Simulation of Real Fire
Sources,” U.S. Patent No. 8,413,530, Issued April 9, 2013.

PROFESSIONAL MEMBERSHIP:

Member, International Association for Fire Safety Science (IAFSS).
Member, National Fire Protection Association (NFPA).
Fellow, Society of Fire Protection Engineers (SFPE).
Member, National Association of Fire Investigators (NAFI).
Member, International Association of Arson Investigators (IAAI).
Member, DC/MD Chapter, International Association of Arson Investigators.
Member, American Society of Mechanical Engineers (ASME).
Member, American Society of Testing and Materials (ASTM).
Member, Building Officials Code Administration (BOCA).
Member, NFPA 92B Task Group, 1998.
Member, SFPE Task Group on Computer Model Evaluation, 1998-present.
Member, SFPE Educational Committee, 1999 – present.
Member, IAAI Fire & Arson Investigator Editorial Review Board, 2006 – present.
Alternate Member, NFPA 921, Guide for Fire and Explosion Investigations, 2000 – 2018.
Associate Member, Engineering Sciences, American Academy of Forensic Sciences (AAFS), 2006.
Member, Arson Review Committee (ARC), The Innocence Project, NYC, 2005 – present.
PROFESSIONAL BOARD MEMBERSHIP:

Member, Board of Advisors, Fire Protection Engineering Department, WPI, 2009 – 2016.
Member, IAAI Fire & Arson Investigator Editorial Review Board, 2006 – present.

REVIEWS OF ARCIVAL JOURNALS AND PUBLICATONS:
Peer Reviewer, Fire Technology, 2009 – present.
Peer Reviewer, Fire Safety Journal, 2007 – present.
Peer Reviewer, Journal of Forensic Sciences, 2012 – present.
Peer Reviewer, Forensic Science International, 2015 – present.
Reviewer, Fire & Arson Investigator, 2006 – present.




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INSTRUCTOR:
“Advanced Fire Dynamics”, Adjunct Lecturer for graduate level distance learning course for the
     Department of Fire Protection Engineering at the University of Maryland, December 2004 –
     present.

“Introduction to Fire Modeling”, two-day course sponsored by the Society of Fire Protection
       Engineers (SFPE), Atlanta, GA, November 12 –13, 1998; Baltimore, MD May 13 –14,
       1999, Baltimore, MD October 2 – 3, 2000, Idaho Falls, Idaho, May 7 - 8, 2002.

“Introduction to Fire Modeling”, one-day course sponsored by the International Fire Code
       Institute (IFCI), the International Conference of Building Officials (ICBO), and the Society
       of Fire Protection Engineers (SFPE), St. Paul, MI, November 17 & 19, 1998; Tacoma,
       WA, January 28, 1999.

“Engineering Design Alternatives”, one-day course sponsored by the International Fire Code
      Institute (IFCI), the International Conference of Building Officials (ICBO), and the
      Society of Fire Protection Engineers (SFPE), Tacoma, WA, January 29, 1999; Dallas,
      TX, April 7, 1999.

“The Fire Safety Engineering Method”, five-day course sponsored by Canadian Association of
      Building Code Officials, Winnipeg, Canada, May 30th - June 4th, 1999.

“Advanced Computer Fire Modeling”, two-day course sponsored by the Society of Fire
      Protection Engineers (SFPE), New Orleans, LA, November 11 – 12, 1999; Baltimore,
      MD, October 4 – 5, 2000, Santa Fe, NM, March 14 – 15, 2002.

“Introduction to Fire Dynamics Simulator (FDS) and Smokeview”, three-day course sponsored
       by the Society of Fire Protection Engineers (SFPE), Baltimore/Washington, September
       16 – 18, 2002, Las Vegas, March 23 – 25, 2004, Chicago, September 21-23, 2004, Hawaii,
       February 1-3, 2005, Chicago, August 14 -16, 2006.

“Advanced Fire Dynamics Simulator (FDS) and Smokeview”, three-day course sponsored by the
      Society of Fire Protection Engineers (SFPE), San Diego, October 19 – 21, 2005,
      Baltimore, October 18 – 20, 2006, Las Vegas, October 16 – 19, 2007, Charlotte, NC,
      October 15-17, 2008, Scottsdale, AZ, October 21 – 23, 2009.

“Use of Quantitative Tools for Analysis of Fire Dynamics”, two-day course sponsored by the
       Society of Fire Protection Engineers (SFPE), Portland, OR, October, 2011.

“Fire Patterns and Investigation,” Module 5, four-day course for criminal technicians employed
       at the National Forensic Center of the Danish National Police, Copenhagen, Denmark,
       and Revinge, Sweden, June 11th, 12th, 15th – 18th, 2015.




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CONTINUING EDUCATION:
FPE 580L “Case Studies in Fire Safety Engineering Science”, Worcester Polytechnic
      Institute, Advanced Distance Learning Network (ADLN), 16-week course, Instructor: Dr.
      Patrick J. Pagni, University of California at Berkley, Fall, 2000.

“Smoke Management for Atria and Other Large Spaces”, one-day course sponsored by the
     Society of Fire Protection Engineers (SFPE), and American Society of Heating,
     Refrigerating, and Air-Conditioning Engineers (ASHRAE), Baltimore, MD, October 6,
     2000.

“Accreditation, Certification, and Certificates,” IAAI tested training program (CFI Trainer),
      completed 4/3/2020, 3 credit hours.

“An Analysis of The Station Nightclub Fire,” IAAI tested training program (CFI Trainer),
      completed 9/14/2007, 4 credit hours.

“Arc Mapping Basics,” IAAI tested training program (CFI Trainer),
      completed 4/3/2020, 4 credit hours.

“Basic Electricity,” IAAI tested training program (CFI Trainer),
       completed 4/3/2020, 4 credit hours.

“Charleston Sofa Super Store,” IAAI tested training program (CFI Trainer),
       completed 4/6/2020, 4 credit hours.

“Charting Your Career Path in Fire Investigation,” IAAI tested training program (CFI Trainer),
       completed 4/10/2020, 3 credit hours.

“Communicating the Value of Membership in the IAAI,” IAAI tested training program
     (CFI Trainer), completed 4/10/2020, 0 credit hours.

“Critical Evaluation and Testing of Commonly Reported Accidental Causes,” IAAI tested
         training program (CFI Trainer), completed 4/8/2020, 3 credit hours.

“Critical Thinking Solves Cases,” IAAI tested training program (CFI Trainer),
          completed 6/4/2008, 4 credit hours.

“Digital Photography and the Fire Investigator,” IAAI tested training program (CFI Trainer),
        completed 12/18/2008, 4 credit hours.

“Discovery in Civil Cases,” IAAI tested training program (CFI Trainer), completed 4/13/2020, 3
      credit hours.

“Discovery in Criminal Cases,” IAAI tested training program (CFI Trainer),
       completed 4/13/2020, 3 credit hours.


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“DNA,” IAAI tested training program (CFI Trainer),
      completed 4/13/2020, 3 credit hours.

“Documenting the Event,” IAAI tested training program (CFI Trainer),
      completed 4/13/2020, 4 credit hours.

“Effective Investigation and Testimony,” IAAI tested training program (CFI Trainer),
        completed 1/21/2010, 3 credit hours.

“Electrical Safety,” IAAI tested training program (CFI Trainer),
      completed 4/9/2020, 3 credit hours.

“Ethical Duties Beyond the Fire Scene,” IAAI tested training program (CFI Trainer),
      completed 4/28/2020, 3 credit hours.

“Ethics & Social Media,” IAAI tested training program (CFI Trainer),
      completed 4/29/2020, 3 credit hours.

“Ethics and the Fire Investigator,” IAAI tested training program (CFI Trainer),
     completed 2/14/2007, 3 credit hours.

“Evidence Examination: What Happens at the Lab,” IAAI tested training program
     (CFI Trainer), completed 4/10/2020, 4 credit hours.

“Explosion Dynamics,” IAAI tested training program (CFI Trainer),
    completed 4/3/2020, 4 credit hours.

“Fire and Explosion Investigations: Utilizing NFPA 1033 and 921,” IAAI tested training
      program (CFI Trainer), completed 1/25/2010, 4 credit hours.

“Fire Chemistry,” IAAI tested training program (CFI Trainer),
      completed 11/9/2017, 3 credit hours.

“Fire Dynamics Calculations – Version 2.0,” IAAI tested training program (CFI Trainer),
      completed 2/14/2007, 4 credit hours.

“Fire Flow Analysis,” IAAI tested training program (CFI Trainer),
      completed 4/8/2020, 3 credit hours.

“Fire Investigation for Fire Officers,” IAAI tested training program (CFI Trainer),
      completed 4/29/2020, 3 credit hours.

“Fire Investigator Scene Safety,” IAAI tested training program (CFI Trainer),
       completed 9/13/2007, 3 credit hours.




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“Fire Protection Systems,” IAAI tested training program (CFI Trainer),
      completed 4/9/2020, 3 credit hours.

“Fundamentals of Interviewing,” IAAI tested training program (CFI Trainer),
     completed 4/30/2020, 4 credit hours.

“Fundamentals of Residential Building Construction,” IAAI tested training program
     (CFI Trainer), completed 5/5/2020, 3 credit hours.

“How First Responders Impact the Fire Investigation,” IAAI tested training program
    (CFI Trainer), completed 4/10/2020, 2 credit hours.

“Insurance and the Fire Investigation,” IAAI tested training program (CFI Trainer),
     completed 5/5/2020, 4 credit hours.

“Introduction to Appliances,” IAAI tested training program (CFI Trainer),
    completed 4/10/2020, 3 credit hours.

“Introduction to Evidence,” IAAI tested training program (CFI Trainer),
    completed 5/1/2020, 4 credit hours.

“Introduction to Fire Dynamics and Modeling,” IAAI tested training program (CFI Trainer),
     completed 2/6/2007, 4 credit hours.

“Investigating Motor Vehicle Fires,” IAAI tested training program (CFI Trainer),
     completed 3/2/2007, 4 credit hours.

“MagneTek: A Case Study in The Daubert Challenge,” IAAI tested training program
    (CFI Trainer), completed 1/21/2010, 2 credit hours.

“NFPA 1033 and Your Career,” IAAI tested training program (CFI Trainer),
    completed 4/10/2020, 2 credit hours.

“Physical Evidence at the Fire Scene,” IAAI tested training program (CFI Trainer),
    completed 4/29/2020, 4 credit hours.

“Post-Flashover Fires,” IAAI tested training program (CFI Trainer),
      completed 10/30/2008, 4 credit hours.

“Process of Elimination,” IAAI tested training program (CFI Trainer),
     completed 3/23/2016, 3 credit hours.

“Residential Electrical Systems,” IAAI tested training program (CFI Trainer),
      completed 4/30/2020, 4 credit hours.




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“Residential Natural Gas Systems,” IAAI tested training program (CFI Trainer),
      completed 5/1/2020, 3 credit hours.

“The Impact of Ventilation in Building Structures on Fire Development,” IAAI tested training
       program (CFI Trainer), completed 1/5/2009, 4 credit hours.

“The Practical Application of the Relationship Between NFPA 1033 and NFPA 921,” IAAI
      tested training program (CFI Trainer), completed 4/8/2020, 2 credit hours.

“The Scientific Method for Fire and Explosion Investigation,” IAAI tested training program
      (CFI Trainer), completed 2/8/2007, 3 credit hours.

“Thermometry, Heat, and Heat Transfer,” IAAI tested training program (CFI Trainer),
      completed 4/3/2020, 3 credit hours.

“Understanding Fire Through the Candle Experiments,” IAAI tested training program
      (CFI Trainer), completed 1/25/2010, 4 credit hours.

“Understanding Undetermined,” IAAI tested training program (CFI Trainer),
      completed 4/29/2020, 3 credit hours.

“Writing the Initial Origin and Cause Report,” IAAI tested training program (CFI Trainer),
      completed 4/29/2020, 3 credit hours.

“Principles of Fire Investigation,” IAAI tested training program (CFI Trainer),
       completed 5/5/2020, 67 credit hours.

“Fire Investigation for Fire Officers,” IAAI tested training program (CFI Trainer),
       completed 4/29/2020, 25 credit hours.

SELECTED PUBLICATIONS AND PRESENTATIONS:
Presentations (Non-Peer Reviewed):

Carpenter, D. J., “Fire Science and Investigations: The Use of Toxicology Evidence in Fire
       Investigations,” D25, 71st American Academy of Forensic Sciences, Annual Meeting,
       Baltimore, Maryland, February 18-22, 2019.

Felthous, A. R., Weinstock, R., Carpenter, D. J., Martell, D. A., Oxley, J. C., Shefchick, T. P.,
       Ubelacker, D., Warnick, A. J., Lentini, J., Yang, S., and Upshaw Downs, J. C., “Fires and
       Explosions: A Multidisciplinary Overview of Investigative Methods, Mental States of
       Perpetrators, and Psychological Trauma to Victims,” W17, American Academy of
       Forensic Sciences, Annual Meeting, Seattle, Washington, February 22-27, 2010.




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Dubs, L. A. and Carpenter, D. J., “Forensic Science (Arson): Talisman or Trickery?,” Seminar,
       North Carolina Advocates for Justice, Raleigh, NC, April 16, 2010.

Carpenter, D., Warnick, A., Ubelacker, D., and Martell, D, “Forensic Sampler: Firesetting and
       Bombing,” 40th Meeting of the American Academy of Psychiatry and the Law, Baltimore,
       MD, October 29th – November 1, 2009.

Carpenter, D., “Practical Application of Fundamental Knowledge in Fire and Explosion
       Investigations,” Canadian National Advanced Fire, Arson and Explosion Investigation
       Training Program, Toronto, Canada, October 29th, 2009.

Carpenter, D. J., “The Forensic Model,” Session 4: The Real World – What Do We Actually Do
       with Fire Models?, Fire Modeling Workshop, National Institute of Standards and
       Technology (NIST), Gaithersburg, MD, Wednesday, April 29, 2009.

Carpenter, D. J., and McAllister, J. M., “Practical Application of Engineering Principals,”
       International Association of Arson Investigators, 59th Annual Training Conference, Denver,
       Colorado, April 27 - May 2, 2008.

Stauffer, E., Byron, D. E., and Carpenter, D. J., “Analysis of Vegetable and Animal Oil Residues
        from Fire Debris Samples,” W17, American Academy of Forensic Sciences, Annual
        Meeting, San Antonio, Texas, February 19-24, 2007.

Cummings, W. M., and Carpenter, D. J., “Performance-Based Analysis of ARFF Requirements
     at USAP Airfields,” American Society of Civil Engineers (ASCE), Cold Regions
     Engineering Conference, Anchorage, AK, May 22, 2002.

Carpenter, D. J., Zhang, W., Roby, R. J., “Fire Dynamics Simulator (FDS),” National Institute of
       Standards and Technology, Seminar, November 19, 2002.

Carpenter, D. J., “Fire Protection in Antarctica," presented to the Chesapeake Chapter of the
       Society of Fire Protection Engineers, College Park, Maryland, April 30, 1998; New
       England Chapter of the Society of Fire Protection Engineers, Boston, MA, February 7, 2000.

Watts, J. M., Jr., and Carpenter, D. J., “Fire Dynamics and Fire Modeling & Human Behavior in
        Fire and Performance-Based Fire Safety Evaluation”, State of Vermont, Department of
        Labor, Rutland, VT, January 31st, 2000.

West, L. E., Reiter, D. A., and Carpenter, D. J., “Forensic Fire Investigation”, The 2000 Claims
       Conference, Professional Loss Research Bureau (PLRB), Chicago, IL, March 26 – 29, 2000.

Carpenter, D. J., “The Use of Quantitative Tools in Fire Investigation," presented to the Vermont
       Chapter of the International Association of Arson Investigators, Randolph Center, VT,
       December 3, 1998; New Jersey Chapter of the International Association of Arson
       Investigators, Morristown, NJ, June 18, 1999.




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Carpenter, D. J., Beller, D., and Sapochetti, J., “Using the “Scientific Method” in the Analysis of
       the Cause and Origin of the Fire at the Cococnut Grove: Development of a New
       Hypothesis”, NFPA World Fire Safety Congress and Exposition, Baltimore, MD, May 16-
       20, 1999.

Carpenter, D. J., and Roby, R. J., “Advanced Investigation and Technology: Application and
       Presentation of Fire Modeling in Arson Investigations," presented to the National Society
       of Professional Insurance Investigators 1999 Advanced Insurance Fraud Seminar,
       Cincinnati, OH, November 11, 1999.

Carpenter, D. J. and Hamer, A. J., “The Modeling of Experimental Compartment Fires Using
       Computational Fluid Dynamics," presented at the 1998 STAR-CD North America User’s
       Conference, Detroit, MI, May 19-20, 1998.

Conference Poster Sessions (Editorially Reviewed):

Carpenter, D. J., and DiNenno, P. J., "Halon Alternative Selection Tool Software”, Proceedings
       of the Halon Alternatives Technical Working Conference, May 6-8, 1997, Albuquerque, NM.

Carpenter, D. J., and Barnett, J. R., "The Modeling of Fire Tests Conducted at the National
       Research Council of Canada Using the Fire Field Model JASMINE," presented at the
       International Conference on Fire Research and Engineering, Orlando, FL, September 10-15,
       1995.

Conference Papers (Editorially Reviewed):

Olenick, S.M., Roby, R.J., and Carpenter, D.J., “Re-Visiting the Michael Ledford Fire
       Incident,” Proceedings of the International Symposium on Fire Investigation Science and
       Technology (ISFI), 2010.

Olenick, S.O., Roby, R.J., Carpenter, D.J., and Goodman, A., “Evaluation of the NFPA 72
       Spacing Requirements for Waffle Ceilings,” National Fire Protection Research
       Foundation Suppression and Detection Research Applications Symposium, January, 2008.

Ferrino-McAllister, J.L, Carpenter, D., Roby, R., Torero, J., “The Extent of Evaporation of
       Ignitable Liquids Under Exposure to Compartment Fires, Non-Fire Thermal and
       Non-Thermal Environments”, Proceedings from the 10th International Conference, Fire
       and Materials, San Francisco, CA, 2007.

Carpenter, D. J., Roby, R. J., and Torero, J. L., “The Use of Toxicity Data in the Reconstruction
       and Analysis of Fires,” Proceedings of the 2nd International Symposium on Fire
       Investigation Science and Technology, National Association of Fire Investigators,
       University of Cincinnati, June 28 – 30, 2006.




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Carpenter, D. J., Roby, R. J., and Torero, J. L., “Training vs. Education: The Case for the
       Development of a National Curriculum for Fire Investigators,” Proceedings of the 2nd
       International Symposium on Fire Investigation Science and Technology, National
       Association of Fire Investigators, University of Cincinnati, June 28 – 30, 2006.

Ferrino-McAllister, J. L., Carpenter, D. J., and Roby, R. J., “Comparison of Gasoline
       Weathering on Carpet Samples Exposed to Various Thermal Environments,”
       Proceedings of the 2nd International Symposium on Fire Investigation Science and
       Technology, National Association of Fire Investigators, University of Cincinnati, June 28
       – 30, 2006.

Sutula, J. A., Carpenter, D. J., Anderson, J., and Cometto, A., “The Use of Animation as an Aid
        in the Presentation of Results of Computational Fluid Dynamics Modeling in Fire
        Reconstruction Analysis,” Proceedings of the 2nd International Symposium on Fire
        Investigation Science and Technology, National Association of Fire Investigators,
        University of Cincinnati, June 28 – 30, 2006.

Carpenter, D. J., and Cummings, W., “Performance-Based Analysis of ARFF Requirements
       for Air-Fields at McMurdo and South Pole Stations, Antarctica,” NFPA World Safety
       Conference, Dallas, TX, May 18 - 21, 2003.

Carpenter, D. J. and Zhang, W., “Validation of Fire Modeling by Fire Dynamic Simulator for
       Fire Protection Engineering,” NFPA World Safety Conference, Dallas, TX, May 18-21,
       2003.

Zhang, W., N. L. Ryder, R. J. Roby, and D. J. Carpenter, “Modeling of the Combustion in a
       Compartment Fire by Large Eddy Simulation Approach,” Proceedings of the
       Chemical and Physical Processes in Combustion, Eastern States Section of the
       Combustion Institute Fall Technical Meeting, Hilton Head, SC, December 2001.

Sutula, J. A., Carpenter, D. J., and Roby, R. J., “Use of the FDS Model to Analyze Two Competing
        Scenarios in an Alleged Arson Case,” presented at 3rd Technical Symposium on Computer
        Applications in Fire Protection Engineering, Society of Fire Protection Engineers, Baltimore,
        MD, September 2001.

Zhang, W., Hamer, A. J., Klassen, M. S., Carpenter, D. J., and Roby, R. J., “Verification of the
       Turbulence Statistics for Fire Dynamic Simulator in a Room Fire,” presented at 3rd
       Technical Symposium on Computer Applications in Fire Protection Engineering, Society of
       Fire Protection Engineers, Baltimore, MD, September 2001.

Zhang, W., Hamer, A., Klassen, M., Carpenter, D., and Roby, R., “Turbulence Statistics in a Fire
       Room Model by Large Eddy Simulation,” presented at 2nd Joint Meeting of the U.S.
       Sections of the Combustion Institute, Oakland, CA, March 2001.




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Carpenter, D. J., "Development of a Waiver/Deviation Process for Determining Equivalent Fire
       Protection at United States Research Stations in Antarctica," presented at the
       International Conference on Performance-Based Fire Safety Codes and Design Methods,
       Ottawa, Canada, September 23-26, 1996.

Journal Publications (Peer Reviewed):

McAllister, J. L., Carpenter, D. J., Roby, R. J., and Purser, D., “The Importance of Autopsy and
      Injury Data in the Investigation of Fires,” Fire Technology, Volume 49, Number 2, 2013.

Carpenter, D. J. “Commentary on: Chi J. H., “Metallographic Analysis and Fire Dynamics
      Simulation for Electrical Fire Scene Reconstruction,” Journal of Forensic Science,
      57(1) pp. 246-9, 2012.

Carpenter, D. J., “Commentary on: Chi J.H., Wu S.H., and Shu C.M., Using Fire Dynamics
       Simulator to Reconstruct a Hydroelectric Power Plant Fire Accident,” Journal of
       Forensic Sciences, 56(6), pp. 1639-44, 2011.

Zhang, W., Olenick, S. M., Klassen, M. S., Carpenter, D. J., Roby, R. J., and Torero, J. L., “A Smoke
       Detector Activation Algorithm for Large Eddy Simulation Fire Modeling,” Fire Safety
       Journal, 43, pp. 96 – 107, 2008.

Olenick, S. M., and Carpenter, D. J., “An Updated International Survey of Computer Models for
       Fire and Smoke,” Journal of Fire Protection Engineering, Vol. 13, No. 2, 2003.

Zhang, W., Hamer, A., Klassen, M., Carpenter, D., and Roby, R., “Turbulence Statistics in a Fire
       Room Model by Large Eddy Simulation,” Fire Safety Journal, 37, pp. 721-752, 2002.

Wade, C. A., and Carpenter, D. J., "A Performance-Based Analysis of an Industrial Facility
      Containing Flammable Liquid Storage," Journal of Fire Protection Engineering, Vol. 9,
      No. 2, 1998.

Carpenter, D. J., and Wade, C. A., "A Performance-Based Fire Hazard Analysis of an Industrial
       Process Using Pressurized Hydraulic Fluids," in preparation for submission to the Journal
       of Fire Protection Engineering.

Published Reports:

Carpenter, D. J., Churchward, D. L., Lentini, J. J., McKenzie, M. A., and Smith, D. A., “Report
      on the Peer Review of the Expert Testimony in the Cases of State of Texas v.
      Cameron Todd Willingham and State of Texas v. Ernest Ray Willis,” Arson Review
      Committee, Innocence Project, April, 2006.

DiNenno, P. J., Verdonik, D. P., and Carpenter, D. J., “U.S. Navy Halon 1211 Replacement
      Plan Part I - Development of Halon 1211 Alternatives,” Navy Research Laboratory
      (NRL), NRL/MR/6180-99-8410, November 1, 1999.



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Mawhinney, J. R., and Carpenter, D. J., "A Review of Fire Hazards and Fire Suppression Options
     for the Halifax Class Frigates of the Canadian Navy," Client Report A-4424.1, for
     Department of National Defence, National Research Council Canada, Ottawa, Canada,
     March 10, 1997.

Amy, J., Carpenter, D. J., and Pucci, W. E., “Alternative Combustible Loading: Conceptual
      Matrix Development and Implementation (U)”, WSRC-RP-93-1445, Westinghouse
      Savannah River Company, Savannah River Site, Aiken, SC, October 29, 1993.

Carpenter, D. J., “Alternative Combustible Loading: An Overview and Methodology
      Framework (U)”, WSRC-RP-93-1194, Westinghouse Savannah River Company,
      Savannah River Site, Aiken, SC, September 30, 1993.

HANDBOOK CHAPTERS:

Walton, W. D., Carpenter, D. J., and Wood, C. B., “Deterministic Computer Fire Models,” 19th
       edition, Fire Protection Handbook, Section 3, Chapter 5, National Fire Protection
       Association, Quincy, MA, 2003.

Walton, W. D., Carpenter, D. J., and Wood, C. B., “Zone Computer Fire Models for Enclosures,”
       4th edition, The SFPE Handbook of Fire Protection Engineering, Section 3, Chapter 7,
       Society of Fire Protection Engineers, Bethesda, MD, and National Fire Protection
       Association, Quincy, MA, 2008.

Beyler, C. L., DiNenno, P. J., Carpenter, D. J., and Watts, J. M., Jr., “Introduction to Fire
        Modeling,” 20th edition, Fire Protection Handbook, Section 3, Chapter 5, National Fire
        Protection Association, Quincy, MA, 2008.

Carpenter, D. J., “Fire Modeling and Its Application in Fire Investigation,” Wiley Encyclopedia
       of Forensic Science, John Wiley & Sons, New York, June, 2009.

TELEVISION PROGRAMS:
CNN’s “Burden of Proof with Greta Van Susteren & Roger Cossack,” Waco Simulation: Burning
      Questions of the Branch Dravidian Fire, March 23, 2000.

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      (http://www.miller-mccune.com/article/arson-convictions-fire-investigations-feel-the-
      heat-980), February 7, 2009.

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“Episode 18 – Forensics in Flames,” Michael May, The Life of the Law,
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                                  Appendix C
                               Lists of Testimony




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Douglas J. Carpenter, MScFPE, CFEI, PE, FSFPE
Court Testimony:
State of Vermont vs. Dale Spooner
State of Vermont District Court, Washington Circuit, Unit 2
Docket No. 898-7-99Wncr
August 1-2, 2000.

State of Ohio vs. Angela Garcia
Court of Common Pleas, Cuyahoga County, Ohio
Case No. CR 387760
May 21, 2001.

State of Florida vs. Kazem Pourghafari
Circuit Court of the 17th Judicial Circuit, Broward County, Florida
Case No. 98-15858 CF10A
Evidentiary Hearing
March 25, 2004.

State of Florida vs. Kazem Pourghafari
Circuit Court of the 17th Judicial Circuit, Broward County, Florida
Case No. 98-15858 CF10A
Trial Testimony
April 13, 2004.

Harford Mutual Insurance, as Subrogee of Carriage Hill Apartments vs. Apria Health Care, Inc.,
and Mallinckrodt, Inc.
United States District Court for the State of Maryland – Southern Division
Case No. DKC 03-180
Daubert Hearing
July 20, 2004.

State of Louisiana vs. Amanda Gutweiler aka Amanda Hypes
Ninth Judicial District Court, Rapides Parish, Louisiana
Criminal Docket No. 265037
Bail Hearing
June 23, 2006.

Camp Takajo, Inc., Plaintiff v. Simplex Grinnell, LP and Pitre Painting Company, Inc.
State of Maine Superior Court, Cumberland County, SS.
Civil Action Doc. No. CV-04-773
February 26, 2007.




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Anthony W. Smith and Theresa Smith, Plaintiffs, vs. Marilyn Nelson, doing business as “SIMPLY
SOFAS,” and DOES 1 To 50, Defendants.
Superior Court of the State of California for the County of Los Angeles
No. BC 344555 SC 088250
October 30, 2007.

State of North Carolina vs. Lisa Louise Greene
General Court of Justice, Superior Court Division, Carrabus County, North Carolina
Case No. 06 CRS 50169-50171
January 9 -11, 2008.

State of Alabama vs. Christi Michelle Scott
Circuit Court of Franklin, Franklin County Courthouse, Russellville, Alabama
Case Number CC08-344
June 29, 2009.

Eric Williams vs. State of Vermont
Chittenden Superior Court, Burlington, Vermont
Docket Number: S1475-2001CnC
Trial Testimony
July 14, 2011.

Eric Williams vs. State of Vermont
Chittenden Superior Court, Burlington, Vermont
Docket Number: S1475-2001CnC
Trial (Rebuttal) Testimony
July 22, 2011.

State of West Virginia vs. Ronald C. Davis
Circuit Court for Jackson County, Ripley, West Virginia
Case No. 10-F-89
Pre-Trial Hearing
June 17, 2011.

State of West Virginia vs. Ronald C. Davis
Circuit Court for Jackson County, Ripley, West Virginia
Case No. 10-F-89
Trial Testimony
September 8, 2011.

State of Texas vs. Sharon Watkins
338th District Court of Harris County, Houston, Texas
Cause Numbers 1179714 and 1181065
Pre-Trial (Daubert-Kelly) Hearing
September 16, 2011.
State of Texas vs. Sharon Watkins



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338th District Court of Harris County, Houston, Texas
Cause Numbers 1179714 and 1181065
Trial Testimony
October 5, 2011.

State of Indiana vs. Glenn Patrick Bradford
Vanderburgh Circuit Court, County of Vanderburgh
Cause No. 82C01-9209-CF-512
PRC Hearing Testimony
October 12, 2011.

State of Georgia vs. Sheree Dionne Murphy
Magistrate Court of Clayton County, State of Georgia
Warrant No.: CW-22474 through CW-22479, CW-2281, CW-2282
Trial Testimony
December 9, 2011.

State of Texas vs. Edward E. Graf, Jr.
54th District Court of McLennan County, Waco, Texas
Trial Court Cause No. 1987-1041-C2A
Post-Conviction Writ of Habeas Corpus Hearing Testimony
January 11, 2013.

KEN TEEL, individually and as representative of the ESTATE OF BRENNEN CHASE TEEL;
BECKY TEEL; ROSS RUSHING and MEG RUSHING, individually and as next friend of L.R., a
minor; STATE FARM LLOYDS INSURANCE COMPANY, as subrogee of Ross Rushing and Meg
Rushing; and SAFECO INSURANCE COMPANY, as subrogee of Ross Rushing and Meg Rushing,
Plaintiffs, vs. TITEFLEX CORPORATION, GASTITE DIVISION; TURNER & WITT PLUMBING,
INC.;MSC HOLDINGS,INC., f/d/a MORRISON SUPPLY COMPANY-LUBBOCK, INC.;and
JERROD GRIFFITH d/b/a TEXAS ELECTRIC COMPANY, Defendants, vs. THERMO DYNAMIC
INSULATION; STRONG CUSTOM BUILDERS, LLC; and; LENNOX HEARTH PRODUCTS,
LLC, Third-Party Defendants.
DISTRICT COURT, 72nd JUDICIAL DISTRICT LUBBOCK COUNTY, TEXAS
Cause No. 2012-5044105
Pre-Trial (Daubert-Kelly) Hearing
June 5, 2014.

State of Texas vs. Edward E. Graf, Jr.
54th District Court of McLennan County, Waco, Texas
Trial Court Cause No. 1987-1041-C2A
Hearing Testimony
October 15, 2014.




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State of Texas vs. Edward E. Graf, Jr.
54th District Court of McLennan County, Waco, Texas
Trial Court Cause No. 1987-1041-C2A
Trial Testimony
October 16, 2014.

People of the State of Illinois vs. William E. Amor
Circuit Court of the Eighteenth Judicial Circuit, County of Du Page, State of Illinois
Case No. 95 CF 2075
Evidentiary Hearing
December 12-13, 2016.

M/V MSC Flaminia
United States District Court Southern District of New York
Case No. 12 CIV 8892 (SAS)
September 18, 2017.

Susan Rattner vs. Chubb National Insurance Company
United States District Court for Eastern District of Virginia, Alexandria Division
Case No. 1:17-cv-00136-LBM-MSN
October 16, 2017.

People of the State of Illinois vs. William E. Amor
Circuit Court of the Eighteenth Judicial Circuit, County of Du Page, State of Illinois
Case No. 95 CF 2075
Trial Testimony
January 29, 2018.

State of Oklahoma vs. Derek Don Posey
District Court of Canadian County, State of Oklahoma
Case No. CF-2013-463
May 13-14, 2019.

Lawrence Turcotte vs. State Farm Fire and Casualty Company
District Court, County of Larimer, State of Colorado
Case No. 18CV030205
October 17, 2019.

State of Oregon vs. Kenneth Ketchem
Circuit Court of the State of Oregon in the County of Marion
No. 19CR05609
October 22, 2020.




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Deposition Testimony:
State of Vermont vs. Dale Spooner.
State of Vermont District Court, Washington Circuit, Unit 2
Docket No. 898-7-99Wncr
February 1, 2000.

Natural Lifestyles, Inc., d/b/a Vermont Trading Company vs. David F. Kelly and Valerie Meggison
State of Vermont District Court, Washington Circuit, Unit 2,
Docket No.
June 8, 2000.

Bobbi-Jo Perreault, Administrator of the Estates of Tyler Scott Billado, Ryan Andrew Francis,
troy Phillip Joseph Perreault; and Bernard A. Perreault, Administrator of the Estate of Amelia G.
Perreault, vs. Stokes Corporation.
State of Vermont District Court, Chittenden County, SS.
Docket No. S622-00 CnC
October 31, 2001.

The Vestry of St. Andrews Church, Protestant Episcopal Church vs. Marvel Lighting Corporation
and E.C. Jackson Supply Co., Inc.
District Court, 181st Judicial District, Potter County, Texas
Docket No. 84, 524-B
July 2, 2002.

Hardel Mutual Plywood Corporation vs. City of Olympia
Supreme Court, Thurston County, Washington State
Case No. 00-2-00291-0
September 26-27, 2002.

State of Florida vs. Kazem Pourghafari
Circuit Court of the 17th Judicial Circuit, Broward County, Florida
Case No. 98-15858 CF10A
November 25, 2003.

Harford Mutual Insurance, as Subrogee of Carriage Hill Apartments vs. Apria Health Care, Inc.,
and Mallinckrodt, Inc.
United States District Court for the State of Maryland – Southern Division
Case No. DKC 03-180
December 16, 2003.




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The Travelers Indemnity Company of Illinois, as Subrogee of Fred Garmon Marketing Corp. and
The Charter Oak Fire Insurance Company, as Subrogee of Computer Software Constultants, Inc.
and Elizabeth Grady Face First, Inc. vs. G & K, LLC, a/k/a Goode & Kriensky, LLC and Sidney
Kriensky, Keyes North Atlantic Co., Inc. CCX Construction Corp. d/b/a M&M Engineering, and
Seaco Insurance Company
Commonwealth of Massachusetts – Superior Court, Middlesex, SS.
Civil Action No. 0201478
March 30, 2004.

Catherine Reuter vs. Washington Hospital Center Corporation
United States District Court for the District of Columbia
Case No. 1-03CV
May 26, 2004.

Douglas O. Kitchen v. Krohn Homes, LLC (Deposition)
American Arbitration Association
Case No. 30-Y-11000327-04
December 2, 2004.

Douglas O. Kitchen v. Krohn Homes, LLC (Testified at Arbitration Hearing)
American Arbitration Association
Case No. 30-Y-11000327-04
December 28, 2004.

Daniel F. Knise and Kathleen P. Knise v. Mitchell Fagan Painting Company
Circuit Court for Fairfax County, Virginia
Law No. 223556
April 25, 2005.

Mayor and City Council of Baltimore, et al., Plaintiffs v. CSX Transportation, Inc., et al.,
Defendants
United States District Court for the State of Maryland – Northern Division
Civil Case No. 04-CV-2348 (RDB)
September 6, 2005.

Camp Takajo, Inc., Plaintiff v. Simplex Grinnell, LP and Pitre Painting Company, Inc., Defendants
State of Maine Superior Court, Cumberland County, SS.
Civil Action Doc. No. CV-04-773
February 25-26, 2006.

Rodney and Bobby Jo Knepp, individually and as Parents and Natural Guardians of Tyler and
Dakota Knepp v. Lawrence H. and Rosearie C. Baird
Court of Common Pleas in and for the County of Montgomery, Pennsylvania
Civil Action No. 03-05546
Arbitration Hearing
March 7, 2006.



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Camp Takajo, Inc., Plaintiff v. Simplex Grinnell, LP and Pitre Painting Company, Inc., Defendants
State of Maine Superior Court, Cumberland County, SS.
Civil Action Doc. No. CV-04-773
April 12, 2006.

Antrunette Howard, Administrator of the Estate of Djanay Hampton, Deceased, Et Al., Plaintiffs
vs. East Lake Management & Development Corporation of Chicago, Et. Al., Defendants
 In the Circuit Court of Cook County, Illinois, County Department – Law Division
March 8, 2007.

John Kane As Administrator Of The Estate of Jennifer Kane, Plaintiff v. David L. Krugman, In His
Capacity As Finance Director For The Town Of Narragansett, And John Does I-X
State of Rhode Island and Providence Plantations Washington, SC. Superior Court
Case No. 03L 13598
August 29, 2007.

Anthony W. Smith and Theresa Smith, Plaintiffs, vs. Marilyn Nelson, doing business as “SIMPLY
SOFAS,” and DOES 1 To 50, Defendants
Superior Court of the State of California for the County of Los Angeles
No. BC 344555 SC 088250
October 4, 2007.

United Services Automobile Association vs. Potomac Electric Power Company and Asplundh Tree
Expert Company
Circuit Court for Montgomery County, Maryland
Case No. 298478-V
May 5, 2009.

Federal Insurance Company, as Subrogee of Joseph Gonzalez vs. Builder Services Group, Inc.,
d/b/a Coastal Insulation, Inc. and Karl Owens, LLC
United States District Court, Northern District of Florida, Pensacola Division
Case No. 3:08-CV-481-MCR-EMT
May 26, 2009.

Arch Chemicals, Inc. vs. Radiator Specialty Company
United States District Court, District of Oregon
Case No. 3:07-cv-1339-HU
July 16, 2010.
George M. Muteff, Executor of the Estate of Virginia C. Miller vs. Invacare Corporation and
American Mobility, LLC
General Court of Justice, Superior Court Division, Wake County, North Carolina
Case No. 08 CVS 11624
July 20, 2010.




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Michael S. Hippert vs. Trane US Inc. et al.
Court of Common Pleas, Hamilton County, Ohio
Case No. A0806404
August 13, 2010.

Ralph James Puckett, III, vs. The Plastics Group, Inc.
United States District Court for the Northern District of Georgia, Atlanta Division
Civil Action File No. 1:11-CV-1120
August 31, 2011.

Linger Longer Development Company, and Fireman’s Fund Insurance Company, as Subrogee of
Linger Longer Development Company vs. Tampa Armature Works, Inc.
United States District Court for the Northern District of Georgia, Athens Division
Civil Action No. 3:10-CV-68(CDL)
December 13, 2011.

Philadelphia Insurance Company, as Subrogee of South Texas Affordable Properties Corporation
D/B/A The Charleston Apartments and South Texas Affordable Properties Corporation D/B/A/
The Charleston Apartments vs. Dell, Inc. D/B/A Dell Computer, Inc., A Delaware Corporation,
LG Chem America, Inc., and LG Chem, LTD
District Court of Harris County, Texas, 295th Judicial District
Cause No. 2010-18442
June 26, 2012.

Traci Armstrong Evans, as Conservator and Gardian of Klay Armstrong, et al. vs. Albany Electric
Company, et al.
State Court of Early County, State of Georgia
Civil Action No. 2008-062
December 4, 2012.

Nationwide Insurance Company a/s/o Mark and Deborah Minck, Pliantiffs, vs. Masco Services
Group Corporation d/b/a Gale Insulation; Pridgen Homes, Inc. f/k/a Orange State Builders and
Developers, Inc., American Strategic Insurance Corporation, Plaintiff, vs. Masco Services Group
Corporation, d/b/a Gale Insulation; Pridgen Homes, Inc. f/k/a Orange State Builders and
Developers, Inc., Defendants
Circuit Court of the 8th Judicial Circuit in and for Alachua, Florida
Case No. 2013-CA-000705 and 2012-CA-3091 K
September 10, 2013.

KEN TEEL, individually and as representative of the ESTATE OF BRENNEN CHASE TEEL;
BECKY TEEL; ROSS RUSHING and MEG RUSHING, individually and as next friend of L.R., a
minor; STATE FARM LLOYDS INSURANCE COMPANY, as subrogee of Ross Rushing and Meg
Rushing; and SAFECO INSURANCE COMPANY, as subrogee of Ross Rushing and Meg Rushing,
Plaintiffs, vs. TITEFLEX CORPORATION, GASTITE DIVISION; TURNER & WITT PLUMBING,
INC.;MSC HOLDINGS,INC., f/d/a MORRISON SUPPLY COMPANY-LUBBOCK, INC.; and
JERROD GRIFFITH d/b/a TEXAS ELECTRIC COMPANY, Defendants, vs. THERMO DYNAMIC



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INSULATION; STRONG CUSTOM BUILDERS, LLC; and; LENNOX HEARTH PRODUCTS,
LLC, Third-Party Defendants
DISTRICT COURT, 72nd JUDICIAL DISTRICT, LUBBOCK COUNTY, TEXAS
Cause No. 2012-5044105
May 5, 2014.

Winding River Village Condominium Association, Inc. vs. City of Sandy Springs, Georgia; City
of Atlanta, Georgia
Superior Court of Fulton County, State of Georgia
Civil Action File No. 2012CV214993
January 23, 2015.

State of Indiana vs. Mark Leonard
St. Joseph Superior Court, County of St. Joseph, State of Indiana
Cause No. 71D02-1408-MR-000009
April 27, 2015.

Edward J. Davis & Sons Corp. vs. Universal Underwriters Insurance Co.
United States District Court for the District of Vermont
Civil Action No. 5:13-CV-286
July 20, 2016.

M/V MSC Flaminia
United States District Court Southern District of New York
Case No. 12 CIV 8892 (SAS)
November, 14, 2016.

Heather Sutton, et al. vs. Mitchell Plumbing & Heating, Inc.
Circuit Court for Baltimore City, Maryland
Case No. 03-C-16-006516
October 27, 2017.

Lawrence Turcotte vs. State Farm Fire and Casualty Company
District Court, County of Larimer, State of Colorado
Case No. 18CV030205
January 31, 2019.

Coratrina Brent vs. Ambassador Services Inc. and Associates Plumbing, Inc. and Oaklee Village
Baltimore, LLC
Circuit Court for Baltimore City, Maryland
Case No. 24-C-18-004011 OT
August 22, 2019.




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Janet Touse vs. Jiffy Plumbing & Heating, Inc., et al.
Circuit Court of Maryland for Prince George’s County
Case No. CAL19-14285
October 8, 2020.




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